
28 N.Y.2d 561 (1971)
Travelers Indemnity Co., Respondent
v.
State of New York, Appellant. (Claim Nos. 48813, 49547.)
Court of Appeals of the State of New York.
Argued January 5, 1971.
Decided January 21, 1971.
Louis J. Lefkowitz, Attorney-General (Grace K. Banoff and Ruth Kessler Toch of counsel), for appellant.
John P. Walsh for respondent.
Concur: Chief Judge FULD and Judges SCILEPPI, BERGAN, BREITEL, JASEN and GIBSON. Taking no part: Judge BURKE.
Order affirmed, with costs; no opinion.
